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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                 HARRISON DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                    No. 3:17-CR-30010-007

JULIA NICOLE HOLLEY                                                                DEFENDANT

                                             ORDER

       The Court has received a report and recommendation (Doc. 102) from United States

Magistrate Judge Mark E. Ford. Both parties have waived the right to object for the purpose of

expediting acceptance of the guilty plea in this matter. (Doc. 101).

       The Court has carefully reviewed the plea agreement and other filings in this case and finds

that the report and recommendation is proper, contains no clear error, and is ADOPTED IN ITS

ENTIRETY.

       IT IS THEREFORE ORDERED that Defendant’s guilty plea is accepted, and the written

plea agreement is tentatively approved, subject to final approval at sentencing.

       IT IS SO ORDERED this 17th day of October, 2017.


                                                             /s/P. K. Holmes, III
                                                             P.K. HOLMES, III
                                                             CHIEF U.S. DISTRICT JUDGE
